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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                            §
                                                      §           Case No. 23-90778
    Chemical Exchange Industries, Inc., et al 1       §
                                                      §           Chapter
             Debtor.                                  §

                           UNITED STATES TRUSTEE’S
         NOTICE OF APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

        Kevin M. Epstein, the United States Trustee for Region 7 (Southern and Western Districts
of Texas), pursuant to 11 U.S.C. § 1102(a)(1), hereby appoints the following eligible creditors to
the Official Committee of Unsecured Creditors in this case:

    Member                                                Member Representative
    CB Technologies, Inc.                                 Rachel Nelson
    770 The City Dr S, Suite 5300                         (714) 573-7733
    Orange, CA 92868                                      rachel.nelson@cbtechinc.com

    Radiographic Specialists, Inc.                        Trey Williams
    4110 Mohawk St                                        (361) 433-8440
    Houston, TX 77093                                     twilliams@rsindt.com

    O’Day Instruments LLC                                 J.M. “Mike” O’Day
    P.O. Box 396                                          (409) 770-3865
    Schulenburg, Texas 78956                              mike@odayinst.com

    Anahuac Transport                                     Brant Charpiot
    3095 FM 1724                                          Phone: 409-926-3011
    Anahuac, Texas 77514                                  Brant@anahuactransport.com

    Covenant Technology Services LLC                      Sharleen Walkoviak
    820 Gessner Rd, Suite 625                             713-253-8135
    Houston, TX 77024                                     Swalkoviak@covenant.com


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  The Debtors in these jointly administered cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Chemical Exchange Industries, Inc. (3753); Texmark Chemicals, Inc. (3757); Texmark
Properties, Inc. (4025); CXI Solvents, LP (7514); and CXIS Management, LLC (5882). The Debtors’ Utility Service
address is 900 Clinton Drive, Galena Park, Texas 77547
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Date: September 30, 2023                    Respectfully Submitted,

                                            KEVIN M. EPSTEIN
                                            UNITED STATES TRUSTEE
                                            REGION 7, SOUTHERN AND WESTERN
                                            DISTRICTS OF TEXAS

                                            By: /s/ Vianey Garza
                                               Vianey Garza, Trial Attorney
                                               Tex. Bar No. 24083057/Fed. ID No. 1812278
                                               515 Rusk, Suite 3516
                                               Houston, Texas 77002
                                               (713) 718-4650 – Telephone
                                               (713) 718-4670 – Fax
                                               Email: Vianey.Garza@usdoj.gov


                             CERTIFICATE OF SERVICE

        I hereby certify that on September 30, 2023 a copy of the foregoing was served by
electronic means on all PACER participants.

                                                /s/ Vianey Garza
                                                Vianey Garza, Trial Attorney
